Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 1 of 21     PageID 262




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                  AT MEMPHIS


 KIMBERLY DIEI,                      )
                                     )
       Plaintiff,                    )
                                     )
 v.                                  )     Civil Action No. 2:21-cv-02071-JTF-cgc
                                     )
 RANDY BOYD, ET AL.                  )
                                     )
       Defendants.                   )



       MEMORANDUM OF LAW IN SUPPORT OF THE OFFICIAL CAPACITY
      DEFENDANTS’ MOTION TO DISMISS THE FIRST, SECOND, AND THIRD
                         CAUSES OF ACTION
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 2 of 21                                                             PageID 263




                                                    TABLE OF CONTENTS
                                                                                                                                 Page

 TABLE OF AUTHORITIES .............................................................................................. ii

 INTRODUCTION AND SUMMARY ............................................................................... 1

 STATEMENT OF FACTS ................................................................................................. 2

 ARGUMENT ...................................................................................................................... 2

       I.    UTHSC’S PROFESSIONALISM RULE IS CONSTITUTIONAL
              AS APPLIED, AND THE COURT SHOULD DISMISS
             THE THIRD CAUSE OF ACTION. .................................................................... 3

       II. UTHSC’S PROFESSIONALISM RULE IS FACIALLY VALID, AND
           THE COURT SHOULD DISMISS THE FIRST AND SECOND
           CAUSES OF ACTION......................................................................................... 4

             A. The University May Lawfully Require Professional Students
                 To Abide by Professional Standards. ............................................................ 5

             B. The College of Pharmacy’s Professionalism Rule Is Facially Valid. ............. 6

                  1.    The State of Tennessee’s Professional Standards for Pharmacists. ......... 7

                  2.    The University of Tennessee’s Professional Standards for Pharmacy
                        Students. ................................................................................................... 8

                  3.    Ms. Diei Cannot Carry Her Burden To Show that UTHSC’s
                        Professionalism Rule Is Facially Invalid. ............................................... 10

 CONCLUSION ................................................................................................................. 15




                                                                        i
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 3 of 21                                                 PageID 264




                                              TABLE OF AUTHORITES

 Cases

 Abbott v. Pastides, 900 F.3d 160 (4th Cir. 2018) ............................................................................4

 Al-Dabagh v. Case Western Reserve University, 777 F.3d 355 (6th Cir. 2015) .............................6

 Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..........................................................................................13

 Benison v. Ross, 765 F.3d 649 (6th Cir. 2014) ................................................................................4

 Citizens in Charge, Inc. v. Husted, 810 F.3d 437 (6th Cir. 2016) .................................................10

 Connection Distributing Co. v. Holder, 557 F.3d 321 (6th Cir. 2009) (en banc) ........................2, 6

 Cope v. Anderson, 331 U.S. 461 (1947) ..........................................................................................3

 Delay v. Rosenthal Collins Group, LLC, 585 F.3d 1003 (6th Cir. 2009) ......................................13

 Ex Parte Young, 209 U.S. 123 (1908) .............................................................................................3

 Fletcher’s Gin, Inc. v. Crihfield, 423 F.2d 1066, 1068 (6th Cir. 1970) ....................................... 3-4

 Harris v. Blake, 798 F.2d 419 (10th Cir. 1986) ...............................................................................4

 HDC, LLC v. City of Ann Arbor, 675 F.3d 608 (6th Cir. 2012) ....................................................14

 Hunt v. Board of Regents of the University of New Mexico,
 792 Fed. Appx. 595 (10th Cir. 2019) .........................................................................................6, 11

 Int’l Ass’n of Machinists & Aerospace Workers v. TVA, 108 F.3d 658 (6th Cir. 1997)..................3

 Keefe v. Adams, 840 F.3d 523 (8th Cir. 2016) .................................................................................6

 Keeton v. Anderson-Wiley, 664 F.3d 865 (11th Cir. 2011)..............................................................6

 Ku v. Tennessee, 322 F.3d 431 (6th Cir. 2003)................................................................................5

 Madison v. Wood, 410 F.2d 564 (6th Cir. 1969) .............................................................................3

 National Institute of Family and Live Advocates v. Becerra, 138 S. Ct. 2361 (2018) ................5, 6

 Oyama v. University of Hawaii, 813 F.3d 850 (9th Cir. 2015).................................................... 5-6

 Richmond v. Fowlkes, 228 F.3d 854 (8th Cir. 2000) .......................................................................6



                                                                 ii
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 4 of 21                                                     PageID 265




 Speet v. Schuette, 726 F.3d 867 (6th Cir. 2013) ............................................................................14

 Tennessean v. Metropolitan Government of Nashville, 485 S.W.3d 857 (Tenn. 2016) ................10

 Virginia v. Hicks, 539 U.S. 113 (2003)..........................................................................................10

 Virginia Pharmacy Board v. Virginia Citizens Consumer Council, 425 U.S. 748 (1976) ..............5

 Ward v. Polite, 667 F.3d 727 (6th Cir. 2012) ...................................................................... 3, 5, 6-7

 Ward v. Rock Against Racism, 491 U.S. 781 (1989) ..................................................... 7, 11-12, 13

 Washington State Grange v. Washington State Republican Party, 552 U.S. 442 (2008) ...............6

 Yoder v. University of Louisville, 526 Fed. Appx. 537 (6th Cir. 2013) ...........................................6

 Statutes

 1982 Pub. Acts, c. 874, § 20 (April 8, 1982) .................................................................................10

 2009 Pub. Acts, c. 566, § 13 (July 1, 2009) ...................................................................................10

 Tenn. Code Ann. § 4-5-202 .............................................................................................................7

 Tenn. Code Ann. § 4-5-205 .............................................................................................................7

 Tenn. Code Ann. § 4-5-211 .......................................................................................................7, 10

 Tenn. Code Ann. § 28-3-104(a)(1)(B) .............................................................................................3

 Tenn. Code Ann. § 49-7-2401 .......................................................................................................11

 Tenn. Code Ann. § 49-7-2405(a)(3) ........................................................................................11, 14

 Tenn. Code Ann. § 49-9-101 ...........................................................................................................8

 Tenn. Code Ann. § 49-9-209(e)(1) ..................................................................................................8

 Tenn. Code Ann. § 63-10-202 .........................................................................................................6

 Tenn. Code Ann. § 63-10-301 .........................................................................................................6

 Tenn. Code Ann. § 63-10-304(c) .....................................................................................................7

 Tenn. Code Ann. § 63-10-305(6) .................................................................................................7, 9




                                                                   iii
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 5 of 21                                          PageID 266




 Administrative Procedure Act Rules

 TENN. COMP. R. & REGS., Rule 1140-02-.01 ...............................................................................8, 9

 TENN. COMP. R. & REGS., Rule 1720-3-5-.01 ................................................................ 8-14 passim




                                                             iv
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 6 of 21                   PageID 267




                               INTRODUCTION AND SUMMARY

        The Plaintiff Kimberly Diei’s lawsuit asserts two different sets of claims against two

 different types of defendants. The First, Second, and Third Causes of Action seek declaratory

 and injunctive relief against a number of University of Tennessee Board members and

 employees in their official capacities. The Fourth and Fifth Causes of Action seek damages from

 two University employees – University System President Randy Boyd and University of

 Tennessee Health Science Center (“UTHSC”) College of Pharmacy Associate Professor Christa

 George – in their individual capacities. By separate motion (ECF#24), the Individual Capacity

 Defendants have moved to dismiss Ms. Diei’s damages claims. Because as-applied challenges to

 the constitutionality of state laws should be addressed before facial challenges, that motion,

 which addresses the application of UTHSC’s Professionalism Rule to Ms. Diei and shows how

 that application gives rise to no claim for damages against the Individual Capacity Defendants,

 should be addressed before this one. As shown below, Ms. Diei also asserts no valid claim for

 declaratory or injunctive relief against the Official Capacity Defendants. In addition to being

 lawful as-applied, UTHSC’s Professionalism Rule, which implements state statutes and

 administrative regulations, is facially valid. This lawsuit should be dismissed. In summary:

   Cause of           First          Second              Third         Fourth           Fifth
    Action
                     Facial           Facial          As-Applied      As-Applied     Retaliation
    Type of       Invalidity –     Invalidity –       Challenge       Challenge
    Claim         Overbreadth      Vagueness
   Type of          Official        Official            Official      Individual     Individual
  Defendant         Capacity        Capacity            Capacity       Capacity       Capacity
   Type of        Declaratory /   Declaratory /       Declaratory /    Damages        Damages
 Relief Sought     Injunctive      Injunctive          Injunctive

  Applicable                                                             Individual Capacity
  Motion and       This Motion – Should Be Addressed Second             Defendants’ Motion to
   Sequence                                                             Dismiss – Should Be
                                                                           Addressed First
                                                  1
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 7 of 21                  PageID 268




                                    STATEMENT OF FACTS

        The Official Capacity Defendants incorporate by reference the Statement of Facts in the

 Memorandum of Law in Support of the Individual Capacity Defendants’ Motion to Dismiss the

 Fourth and Fifth Causes of Action in the Complaint (ECF#24-1) (the “Individual Capacity

 Defendants’ Memorandum”).



                                           ARGUMENT

        Ms. Diei alleges in her First and Second Causes of Action that the University’s

 Professional Rule is facially invalid. Her Third Cause of Action alleges that UTHSC’s

 Professionalism Rule is unconstitutional and should be enjoined as applied.        “[T]he usual

 judicial practice is to address an as-applied challenge before a facial challenge,” primarily

 because “this sequencing decreases the odds that facial attacks will be addressed unnecessarily

 and because this approach avoids encouraging gratuitous wholesale attacks upon state . . . laws.”

 Connection Distributing Co. v. Holder, 557 F.3d 321, 328 (6th Cir. 2009) (en banc) (internal

 quotation marks omitted). Accordingly, Section I below addresses the as-applied challenge, and

 then Section II addresses the facial challenge.




                                                   2
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 8 of 21                     PageID 269




 I.    UTHSC’S PROFESSIONALISM RULE IS CONSTITUTIONAL AS APPLIED, AND
       THE COURT SHOULD DISMISS THE THIRD CAUSE OF ACTION.

        The Third Cause of Action is exactly the same as the Fourth Cause of Action except that

 it is an official capacity claim seeking declaratory and injunctive relief while the Fourth Cause of

 Action is an individual capacity claim seeking damages. For most of the same reasons that the

 Fourth Cause of Action should be dismissed, so should the Third Cause of Action, because the

 underlying claim is without legal merit.1 In summary:

        First, any claim based on the allegations regarding Ms. Diei’s 2019 appearance before the

 Professionalism Committee is time-barred. The statute of limitations is one year. Tenn. Code

 Ann. 28-3-104(a)(1)(B). The Complaint discloses on its face that the 2019 event was complete

 in October 2019 (¶ 47), over a year before this lawsuit was filed. This requires dismissal not

 only of her claim for damages, but also her claim for injunctive and declaratory relief. Under the

 concurrent remedy rule, “equity will withhold its relief . . . where the applicable statute of

 limitations would bar the concurrent legal remedy.” Cope v. Anderson, 331 U.S. 461, 464

 (1947). See Madison v. Wood, 410 F.2d 564, 567-68 (6th Cir. 1969) (injunctive relief); Int’l

 Ass’n of Machinists & Aerospace Workers v. TVA, 108 F.3d 658, 668 (6th Cir. 1997)

 (declaratory judgment); Fletcher’s Gin, Inc. v. Crihfield, 423 F.2d 1066, 1068 (6th Cir. 1970)


 1 There is substantial but not complete overlap between the Individual Capacity Defendants’
 arguments to dismiss the Fourth Cause of Action and the Official Capacity Defendants’
 arguments to dismiss the Third Cause of Action. The Official Capacity Defendants incorporate
 Argument Sections I.A, I.B.1, I.B.2, and I.B.3 of the Individual Capacity Defendants’
 Memorandum. However, Section 1.B.4 and Section II of the Individual Capacity Defendants’
 Memorandum are not relied upon for the official capacity claims. While no damages claim can
 be asserted against President Boyd in his individual capacity absent allegations of wrongdoing
 against him (Section I.B.4), as President he is an appropriate official capacity defendant for an
 injunctive relief claim under Ex Parte Young, 209 U.S. 123 (1908). And regarding Section II,
 which asserts qualified immunity, that doctrine “shields government officials from monetary
 damages, not from injunctive relief.” Ward v. Polite, 667 F.3d 727, 742 (6th Cir. 2012).

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Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 9 of 21                      PageID 270




 (“The District Court found that the three year statute of limitations applied and that since equity

 follows the law plaintiff's equitable relief was barred as was his legal relief.”). Even if the claim

 had been timely filed it is without merit. Ms. Diei’s action in removing her breast from her shirt

 as part of a social media post was not speech protected by the First Amendment. And the

 University took no adverse action against Ms. Diei – she was merely assigned to write a three-

 page paper reflecting on the incident, a lawful educational activity. Any claim based on the 2019

 event should be dismissed.

        Second, the allegations regarding Ms. Diei’s 2020 appearance before the Professionalism

 Committee state no claim for relief because the University took no adverse action against her –

 she alleges that she was “nearly expelled,” but in fact “was not expelled” because she

 “successfully appealed her expulsion.” (Complaint, ¶¶ 1, 3, 100). The College of Pharmacy’s

 final decision and ultimate act was not adverse to Ms. Diei, requiring dismissal of her claim.

 Benison v. Ross, 765 F.3d 649 (6th Cir. 2014); Harris v. Blake, 798 F.2d 419 (10th Cir. 1986).

        Third, Ms. Diei’s allegation that the Professionalism Committee violated the First

 Amendment by investigating complaints made about her by others states no claim for relief

 because it does not violate the First Amendment to investigate such complaints. See Abbott v.

 Pastides, 900 F.3d 160 (4th Cir. 2018).

        Because the Third Cause of Action is without merit, it should be dismissed, as there is no

 basis for the issuance of declaratory or injunctive relief.

 II.   UTHSC’S PROFESSIONALISM RULE IS FACIALLY VALID, AND THE COURT
       SHOULD DISMISS THE FIRST AND SECOND CAUSES OF ACTION.

        The UTHSC Professionalism Rule applicable to Ms. Diei as a College of Pharmacy

 student is nested within a larger context of state regulation of pharmacists, accreditation

 standards, the long-time standard practice of American colleges of pharmacy to teach and require
                                                   4
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 10 of 21                         PageID 271




  adherence to professional standards, and substantial case law upholding professional schools’

  requiring students’ adherence to professional standards. The application of the Professionalism

  Rule is constrained within appropriate boundaries, and it is not vague or overbroad. It is facially

  valid.

           A.   The University May Lawfully Require Professional Students To Abide by
                Professional Standards.

            “States may regulate professional conduct, even though that conduct incidentally

  involves speech.” National Institute of Family and Live Advocates v. Becerra, 138 S. Ct. 2361,

  2372 (2018). And institutions of professional higher education may impose professionalism

  standards upon their students, requiring their students to adhere to the professional standards of

  the profession they are preparing to enter. Indeed, it has long been standard for pharmacy

  students in particular to be “trained in the ethics of the profession.” Virginia Pharmacy Board v.

  Virginia Citizens Consumer Council, 425 U.S. 748, 751 (1976). A university’s teaching and

  requiring adherence to such professional standards serves a “legitimate pedagogical concern in

  teaching its students to comply with” the code of ethics in their field. Keeton v. Anderson-Wiley,

  664 F.3d 865, 876 (11th Cir. 2011). In addition, assessment of a student’s professionalism

  involves an institutional discharge of a responsibility toward society, for professional

  “certification programs are designed to ensure that . . . students meet the professional standards

  in their chosen fields,” such that when a university “communicates to the world that, in its view,

  that student is fit to practice the profession . . . , the [u]niversity places its ‘imprimatur’ on each

  student it approves.” Oyama v. University of Hawaii, 813 F.3d 850, 862, 870 (9th Cir. 2015).

  And students “are not forced to be there,” Ward v. Polite, 667 F.3d 727, 734 (6th Cir. 2012) –

  that is, by deciding to enter a profession and attend a school to prepare them for licensure in that

  profession, they are choosing to voluntarily submit to the regulation of that profession.
                                                    5
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 11 of 21                    PageID 272




         In a series of federal appellate decisions detailed in the Individual Capacity Defendants’

  Memorandum,2 the courts have established that (1) institutions of higher education may require

  their professional students to adhere to the professional standards of the profession they are

  preparing to enter; (2) those professional standards may regulate conduct that involves speech;

  and (3) the speech that may be permissibly regulated includes off-campus, on-line speech such as

  social media posts.

        B.    The College of Pharmacy’s Professionalism Rule Is Facially Valid.

         In her First and Second Causes of Action, Ms. Diei alleges that the University’s

  Professionalism Rule is facially unconstitutional as overbroad and too vague. In general, “facial

  challenges are disfavored.” Washington State Grange v. Washington State Republican Party, 552

  U.S. 442, 450 (2008); see also Connection Distributing Co. v. Holder, 557 F.3d 321, 335-36, 341

  (6th Cir. 2009) (en banc) (explaining why facial invalidation is “strong medicine” with

  significant social costs that should be used only as a “last resort”). As noted above, “States may

  regulate professional conduct, even though that conduct incidentally involves speech.” Becerra,

  138 S. Ct. at 2372. And as held by the Eighth Circuit, “viewpoint-neutral professional codes of

  ethics are a legitimate part of a professional school’s curriculum that do not, at least on their

  face, run afoul of the First Amendment.” Keefe, supra, 840 F.3d at 530 (emphasis added); see,

  e.g., Ward v. Polite, 667 F.3d 727, 738 (6th Cir. 2012) (“On its face, the [American Counseling



  2 See Hunt v. Board of Regents of the University of New Mexico, 792 Fed. Appx. 595 (10th Cir.
  2019), cert. denied, 2020 WL 6829148 (2020); Keefe v. Adams, 840 F.3d 523 (8th Cir. 2016);
  Oyama v. University of Hawaii, 813 F.3d 850 (9th Cir. 2015); Al-Dabagh v. Case Western
  Reserve University, 777 F.3d 355 (6th Cir. 2015); Yoder v. University of Louisville, 526 Fed.
  Appx. 537 (6th Cir. 2013); Keeton v. Anderson-Wiley, 664 F.3d 865 (11th Cir. 2011); Ku v.
  Tennessee, 322 F.3d 431 (6th Cir. 2003); Richmond v. Fowlkes, 228 F.3d 854 (8th Cir. 2000).


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Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 12 of 21                         PageID 273




  Association’s] code of ethics sets forth neutral and generally applicable policies” (emphasis

  added)). Ms. Diei’s facial challenge demands more prescriptive specificity of professionalism

  standards than the law requires, for “perfect clarity and precise guidance have never been

  required even of regulations that restrict expressive activity.” Ward v. Rock Against Racism, 491

  U.S. 781, 794 (1989). The College’s Professionalism Rule, as well as the state statutes and

  regulations on which it is based, are facially valid.

                 1.     The State of Tennessee’s Professional Standards for Pharmacists.

         The Tennessee General Assembly has declared that “[t]he practice of pharmacy within

  the state is . . . a professional practice affecting public health, safety and welfare and is subject to

  regulation and control in the public interest.” Tenn. Code Ann. § 63-10-202. To this end, the

  General Assembly created a Board of Pharmacy. Tenn. Code Ann. § 63-10-301 et seq. By

  statute the Board is authorized to deny or revoke licensure on a number of specifically defined

  bases, including that the person has been guilty of “unethical or unprofessional conduct.” Tenn.

  Code Ann. § 63-10-305(6). Additionally, the Board “has the power and authority to adopt,

  amend and repeal rules of professional conduct appropriate to the establishment and maintenance

  of a high standard of integrity and dignity in the profession of pharmacy.” Tenn. Code Ann.

  § 63-10-304(c).     Exercising its statutory authority, the Tennessee Board of Pharmacy has

  adopted a “Professional Conduct and Responsibilities” rule governing pharmacists and pharmacy

  interns. TENN. COMP. R. & REGS., Rule 1140-02-.01. This Rule was enacted pursuant to the

  Tennessee Uniform Administrative Procedure Act, meaning that it went through an extensive

  process of public input and review for lawfulness by the Tennessee Attorney General. See Tenn.

  Code Ann. §§ 4-5-202, -205, -211. One provision of the Board of Pharmacy’s Rule is:

         A pharmacist shall observe the law, uphold the dignity and honor of the
         profession, and accept its ethical principles. A pharmacist shall not engage in any
                                                     7
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 13 of 21                     PageID 274




         activity that will bring discredit to the profession, and shall expose, without fear
         or favor, illegal or unethical conduct in the profession.

  TENN. COMP. R. & REGS., Rule 1140-02-.01(4).

                 2.    The University of Tennessee’s Professional Standards for Pharmacy
                       Students.

         The University of Tennessee is a public institution created by Tennessee statutes. See

  Tenn. Code Ann. § 49-9-101 et seq. The University is governed by a Board of Trustees which

  has “full power and authority to make bylaws, rules and regulations for the government of the

  university and the promotion of education in the university that in the Board’s opinion may be

  expedient or necessary.” Tenn. Code Ann. § 49-9-209(e)(1). Pursuant to its statutory authority,

  the University’s Board of Trustees has enacted, through the APA rulemaking process, a rule for

  UTHSC entitled “Maintenance of Ethical and Professional Standards.” TENN. COMP. R. & REGS.,

  Rule 1720-3-5-.01.

         UTHSC’s Professionalism Rule generally incorporates the State Board of Pharmacy

  standards by requiring UTHSC students to “maintain the high ethical and professional standards

  of the various disciplines of the health profession.” TENN. COMP. R. & REGS., Rule 1720-3-5-.01.

  UTHSC’s Professionalism Rule then specifically adopts a modified form of specific parts of the

  state statute and State Board of Pharmacy standards, stating:

         (1) A student enrolled at The University of Tennessee Health Science Center is
             subject to disciplinary action up to and including suspension and dismissal for
             engaging in the following acts of misconduct, regardless of whether such
             misconduct is engaged in on or off University-owned or -controlled property:
                                                  *   *   *
             (d) . . . [U]nprofessional and unethical conduct which would bring disrepute
                 and disgrace upon both student and profession and which would tend to
                 substantially reduce or eliminate the student’s ability to effectively
                 practice the profession in which discipline he or she is enrolled.


                                                  8
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 14 of 21                PageID 275




  TENN. COMP. R. & REGS., Rule 1720-3-5-.01(1)(d). This UTHSC Professionalism Rule tracks –

  and adds to – the Tennessee statute forbidding “unethical or unprofessional conduct,” Tenn.

  Code Ann. § 63-10-305(6), and the Tennessee Board of Pharmacy Rule quoted above. TENN.

  COMP. R. & REGS., Rule 1140-02-.01(4) (“[a] pharmacist shall not engage in any activity that

  will bring discredit to the profession”). UTHSC’s APA Professionalism Rule contained in TENN.

  COMP. R. & REGS., Rule 1720-3-5-.01 is also set out verbatim in UTHSC’s student handbook,

  CenterScope    (available   at   http://catalog.uthsc.edu/content.php?catoid=33&navoid=3383

  #Maintenance_of_Ethical%20and_Professional_Standards_of_the_Health_Professions):




         UTHSC’s Professionalism Rule not only implements Tennessee statutes and

  administrative rules, but also fulfills requirements of the College of Pharmacy’s accrediting

  body. Standard 4 of the Accreditation Council for Pharmacy Education covers “Personal and

  Professional Development,” and Standard 4.4. specifically requires the teaching of

                                               9
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 15 of 21                         PageID 276




  professionalism so that the graduate is able to “exhibit behaviors and values that are consistent

  with the trust given to the profession by patients, other healthcare providers, and society.”

  (available at https://www.acpe-accredit.org/pdf/Standards2016FINAL.pdf)

                   3.    Ms. Diei Cannot Carry Her Burden To Show that UTHSC’s
                         Professionalism Rule Is Facially Invalid.

            In considering the facial validity of the UTHSC Professionalism Rule and the underlying

  statute and rule on which it is based, it is necessary to put these items into an appropriate context.

            First, on its face the Professionalism Rule does not specifically regulate speech, but rather

  aims at “conduct.” TENN. COMP. R. & REGS., Rule 1720-3-5-.01(1)(d). “Rarely, if ever, will an

  over-breadth challenge succeed against a law or regulation that is not specifically addressed to

  speech or to conduct necessarily associated with speech.” Virginia v. Hicks, 539 U.S. 113, 124

  (2003).

            Second, the statute and administrative rules are laws of the State of Tennessee,

  Tennessean v. Metropolitan Government of Nashville, 485 S.W.3d 857, 865-66 (Tenn. 2016),

  and as such they carry a presumption of constitutionality. See, e.g., Citizens in Charge, Inc. v.

  Husted, 810 F.3d 437, 441 (6th Cir. 2016) (a “presumption of constitutionality accompanies [the]

  enactments” of state legislatures); Tenn. Code Ann. § 4-5-211 (the rules had their legal validity

  examined and approved by the Tennessee Attorney General when they were enacted).3




  3 The wording of the statute has changed slightly over time, but has always required Attorney
  General review for legality. See 2009 Pub. Acts, c. 566, § 13 (July 1, 2009) (“[t]he office of the
  attorney general and reporter shall review the legality and constitutionality of every rule filed
  pursuant to this section and shall approve and disapprove of rules based upon the attorney
  general’s determination of the legality of such rules”); 1982 Pub. Acts, c. 874, § 20 (April 8,
  1982) (“No rule shall be filed in the secretary of State’s office until such rule has been approved
  as to its legality by the Attorney General”).

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Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 16 of 21                       PageID 277




         Third, there are two limiting constructions imposed by Tennessee state law that set

  boundaries in applying UTHSC’s Professionalism Rule that must be taken into account when

  interpreting the Rule. The first is the Tennessee Campus Free Speech Protection Act, a statute

  passed by the Tennessee General Assembly in 2017. Tenn. Code Ann. § 49-7-2401 et seq.

  Among other things, it provides that Tennessee public institutions of higher education, such as

  UTHSC, “shall be committed to maintaining a campus as a marketplace of ideas for all students

  . . . in which the free exchange of ideas is not to be suppressed because the ideas put forth are

  thought by some or even by most members of the institution’s community to be offensive,

  unwise, immoral, indecent, disagreeable, conservative, liberal, traditional, radical, or wrong-

  headed.” Tenn. Code Ann. § 49-7-2405(a)(3).           The second limiting construction is that, in

  adopting its Rule, the University tailored the Pharmacy Board’s rule by proscribing not merely

  unprofessional and unethical conduct that would bring disgrace, disrepute, or discredit upon the

  pharmacy profession, but also – by using an “and” – required that the activity “tend to

  substantially reduce or eliminate the student’s ability to effectively practice the profession” of

  pharmacy. TENN. COMP. R. & REGS., Rule 1720-3-5-.01(1)(d).             The rationale for allowing

  restrictions on a professional student’s conduct, including in some cases speech, is that the

  institution is simply “[r]equiring a graduate student to meet standards of professionalism that

  would be expected of him upon his entry into the profession.” Hunt, 792 Fed. Appx. at 605.

  Thus, standards of professionalism are upheld as lawful when they have a reasonable nexus to

  the profession by tying a student’s conduct to the student’s ability to properly carry out the duties

  of the profession at issue.

        As a fourth contextual matter, the Supreme Court has held that “[a]dministrative

  interpretation and implementation of a regulation are, of course highly relevant to our analysis”

                                                   11
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 17 of 21                     PageID 278




  in evaluating the facial validity of a rule. Ward v. Rock Against Racism, 491 U.S. at 795.

  UTHSC’s Professionalism Rule has been in place unchanged since 2001. Apart from Ms. Diei’s

  own situation, the Complaint does not allege any instances, during those two decades, when the

  University is alleged to have used the Professionalism Rule to violate anyone’s free speech

  rights. And as to her own situation, the Defendants respectfully submit that she has not provided

  an example of the College of Pharmacy using the Professionalism Rule to violate free speech

  rights because the College lawfully assigned her an educational activity in 2019 and in 2020 the

  College’s final decision was to take no action against her. Thus, the administrative interpretation

  and implementation of UTHSC’s Professionalism Rule that is revealed by the Complaint does

  not establish that it has been applied in a way that punishes free speech rights.

         Indeed, this lawsuit provides a good example of the constraints present on the face of

  UTHSC’s Professionalism Rule. As an example, one of Ms. Diei’s social media postings about

  which a complaint was made in 2020 is as follows:




  (Individual Capacity Defendants’ Memorandum, Exhibit 7, ECF#24-8, PageID 245). Whether

  Ms. Diei agrees or disagrees that pharmacists conversing in this manner would “bring disrepute

  and disgrace upon both [the] student and [the] profession [of pharmacy],” TENN. COMP. R. &

  REGS., Rule 1720-3-5-.01(1)(d), the point is: That alone would not be enough. UTHSC’s

  Professionalism Rule does not say that a student will be expelled simply for bringing the

  pharmacy profession into disrepute and disgrace. There is also an “and” – “and which would

                                                   12
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 18 of 21                    PageID 279




  tend to substantially reduce or eliminate the student’s ability to effectively practice the

  profession [of pharmacy].” Id. Absent a determination that this second requirement, a nexus

  between Ms. Diei’s conduct and her ability to effectively practice the profession of pharmacy,

  was met, the face of UTHSC’s Professionalism Rule would not call for her expulsion for a social

  media post such as that pictured above. And here she was not expelled for it. See Complaint,

  ¶ 100 (“Diei was not expelled”).

         All of the foregoing points in favor of upholding the facial validity of UTHSC’s

  Professionalism Rule. Two things cited by Ms. Diei in support of her argument to facially

  invalidate the Professionalism Rule do not support such an outcome.

         First, Ms. Diei’s Complaint alleges that the University has “complete discretion” to

  punish speech. (Compl. ¶ 103). That is incorrect. As the legal requirements outlined above

  show, the University does not have unbridled discretion in how to apply the Professionalism

  Rule. That means that this is not a case where a plaintiff may rely on an “unconstrained grant of

  regulatory authority” argument to mount a facial challenge. Ward v. Rock Against Racism, supra,

  491 U.S. at 794 (“Since respondent does not claim that city officials enjoy unguided discretion to

  deny the right to speak altogether, it is open to question whether respondent’s claim falls within

  the narrow class of permissible facial challenges to allegedly unconstrained grants of regulatory

  authority.”). In other words, Ms. Diei’s allegation of “complete discretion” is not an allegation

  of fact, but rather an assertion of a legal conclusion. Parts of the Complaint that “are no more

  than conclusions … are not entitled to the assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662,

  680 (2009). A court is required to accept as true only the “non-conclusory allegations in the

  complaint,” Delay v. Rosenthal Collins Group, LLC, 585 F.3d 1003, 1005 (6th Cir. 2009), and




                                                 13
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 19 of 21                      PageID 280




  “need not accept as true legal conclusions or unwarranted factual inferences.” HDC, LLC v. City

  of Ann Arbor, 675 F.3d 608, 611 (6th Cir. 2012).

         Second, Ms. Diei relies on Speet v. Schuette, 726 F.3d 867 (6th Cir. 2013) (cited in ¶ 102

  of the Complaint). Speet is inapposite. It involved a law that criminalized begging, resulting in

  hundreds of prosecutions. The Sixth Circuit held that begging is itself protected speech, and as a

  result the law “simply ban[ned] an entire category of activity that the First Amendment protects.”

  Id. at 879. The criminal law context, not present here, was also important to the court. Id. at 878.

  Speet bears no resemblance to this lawsuit.

         In sum, Ms. Diei cannot satisfy her burden to overcome the presumption of

  constitutionality enjoyed by UTHSC’s Professionalism Rule, and she cannot satisfy her burden

  to demonstrate that it, and by implication the Tennessee statute and Board of Pharmacy Rule on

  which it is based, are facially invalid. UTHSC’s Professionalism Rule on its face regulates

  “conduct,” and is not specifically directed at speech. The Tennessee Campus Free Speech

  Protection Act constrains UTHSC’s ability to use its Professionalism Rule to restrict speech

  simply because the speech is “offensive, unwise, immoral, indecent, disagreeable, conservative,

  liberal, traditional, radical, or wrong-headed.” Tenn. Code Ann. § 49-7-2405(a)(3). UTHSC may

  not use its Professionalism Rule to restrict disreputable and disgraceful speech that does not

  “tend to substantially reduce or eliminate the student’s ability to effectively practice the

  profession” of pharmacy. TENN. COMP. R. & REGS., Rule 1720-3-5-.01(1)(d). And based on the

  allegations of the Complaint, UTHSC has not interpreted its Professionalism Rule to allow it to

  unlawfully punish speech. The First and Second Causes of Action should be dismissed.




                                                  14
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 20 of 21             PageID 281




                                           CONCLUSION

         The Official Capacity Defendants request the Court to dismiss the First, Second and

  Third Causes of Action with prejudice.

         Respectfully submitted this 1st day of March, 2021.

                                      /s/ Frank H. Lancaster
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                                                15
Case 2:21-cv-02071-JTF-cgc Document 25-1 Filed 03/01/21 Page 21 of 21                      PageID 282




                                      CERTIFICATE OF SERVICE

          I hereby certify that on March 1, 2021, a copy of the foregoing memorandum was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt, and parties may access this filing
  through the Court’s electronic filing system.


                                                /s/ Frank H. Lancaster
